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RECORDING INDUSTRY

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VIA ELECTRONIC MAIL
June 27, 2019

Dynadot LLC
205 East Third Avenue, Suite 314
San Mateo, CA 94401

Dear Sir or Madam:

I am contacting you on behalf of the Recording Industry Association of America, Inc.
(RIAA) and its member record companies. The RIAA is a trade association whose
member companies create, manufacture and distribute approximately eighty-five (85)
percent of all legitimate sound recordings sold in the United States.

We have determined that a user of your system or network has infringed our member
record companies’ copyrighted sound recordings.

Enclosed is a subpoena compliant with the Digital Millennium Copyright Act. The
subpoena requires that you provide the RIAA with information concerning the individual
offering infringing material described in the attached notice.

As is stated in the attached subpoena, you are required to disclose to the RIAA
information sufficient to identify the infringer. This would include the individual’s name,
physical address, IP address, telephone number, e-mail address, payment information,
account updates and account history.

Thank you for your cooperation in this matter. If you have any questions please feel free
to contact me via email at antipiracy@riaa.com, via telephone at (202) 775-0101, or via
mail at RIAA, 1025 F Street N.W., 10th Floor, Washington, D.C., 20004.

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Mark McDevitt
Senior Vice President, Online Content Protection

RECORDING INDUSTRY ASSOCIATION OF AMERICA
1025 F STREET, NW, 10TH FLOOR, WASHINGTON, DC 20004
PHONE: 202.775.0101 FAX: 202.775.7253 WEB: www.riaa.com
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I am contacting you on behalf of the Recording Industry Association of America, Inc.
(RIAA) and its member record companies. The RIAA is a trade association whose
member companies create, manufacture and distribute approximately eighty-five (85)
percent of all legitimate sound recordings sold in the United States. Under penalty of
perjury, we submit that the RIAA is authorized to act on behalf of its member companies
on matters involving the infringement of their sound recordings, including enforcing their
copyrights and common law rights on the Internet.

We believe your service is hosting the below-referenced domain name on its network.
The website associated with this domain name offers files containing sound recordings
which are owned by one or more of our member companies and have not been authorized
for this kind of use, including without limitation those referenced at the URL below. We
have a good faith belief that the above-described activity is not authorized by the
copyright owner, its agent, or the law. We assert that the information in this notification
is accurate, based upon the data available to us.

We also ask that you consider the widespread and repeated infringing nature of the site
operator(s)' conduct, and whether the site(s)' activities violate your terms of service
and/or your company's repeat infringer policy.

This e-mail does not constitute a waiver of any right to recover damages incurred by
virtue of any such unauthorized activities, and such rights as well as claims for other
relief are expressly retained.

RECORDING INDUSTRY ASSOCIATION OF AMERICA

1025 F STREET, NW, 10TH FLOOR, WASHINGTON, DC 20004
PHONE: 202.775.0101 FAX: 202.775.7253 WEB: www.riaa.com
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You may contact me at RIAA, 1025 F Street N.W., 10 Floor, Washington, D.C., 20004,
Tel. (202) 775-0101, or e-mail antipiracy@riaa.com, to discuss this notice. Thank you
for your assistance in this matter.

Mark McDevitt
Senior Vice President, Online Content Protection

http://newalbumreleases.net/124819/lizzo-cuz-i-love-you-2019/
Lizzo - Cuz I Love You

http://newalbumreleases.net/128230/madonna-madame-x-2019/
Madonna - Madame X

http://newalbumreleases.net/127716/bruce-springsteen-western-stars-2019/
Bruce Springsteen - Western Stars
